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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03-20476-Ma

VS.

TOMMIE BROWN, JR. ,

\_/Vvv\_/-._rv~../-./

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on August 4, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from August 4, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

2.'»‘~¢\

IT IS 80 ORDERED this day of August, 2005.

JA/’@`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy cf the document docketed as number 142 in
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Honorable Samuel Mays
US DISTRICT COURT

